            Case 1:20-cv-10832-AT-SN Document 64-1 Filed 03/14/21 Page 1 of 2




 UNITED   STATES DISTRICT COURT
 SOUTHERN     DISTRICT OF NEW YORK

 Security and           Exchange            Commission
                                                                                                 Case     No.     20-cv- -10832         (AT)


                                                         Plaintiff,




              against
                                                                                                 AFFIDAVIT  OF JOHN   E. DEATON
                                                                                                 IN SUPPORT  OF MOTION
                                                                                                 FOR ADMISSION   PRO HAC VICE

 Ripple      Labs,      Inc., Bradley             Garlinghouse,
 and   Christian        A. Larsen


                                                         Defendants


 Jordan      Deaton,        James      LaMonte,                Tyler LaMonte,
 Mya       LaMonte,         Mitchell McKenna,
 Kristiana        Warner         and   all other          similarly      situated
 XRP       holders.


                                                      Proposed           Intervenors




I, John      E.   Deaton,         declare        under      penalty       of perjury      that the      following       is true     and     correct:




 1. I am     an   attomey          at The        Deaton         Law   Firm




2. I submit         this affidavit          in    support        of my     motion      for    admission         to practice       pro     hac   vice




in   the above-      -referenced            matter




3. I am      a member            in good         standing        of the Bars        of Connecticut,             Iowa,   Rhode       Island


Massachusetts              and    the Federal            Bar    of Rhode       Island




4. There      are no       disciplinary            proceedings           against     me      in any     State     or Federal      Court.




5. I have     not    been        convicted           of a felony
           Case 1:20-cv-10832-AT-SN Document 64-1 Filed 03/14/21 Page 2 of 2



6. I am      not and       have       never     been      censured,     suspended,         disbarred.     or denied        admission     or




readmission            by any court



Wherefore         your       affiant      respectfully        submits     that he     be   permitted      to appear        as counsel    pro




hac   vice    in this       case     on    behalf       of Proposed     Intervenors




Dated:       March        13, 2021                                                                Respectfully         subm



                  Q




                      EVA CHRISTIN      KATZEN
              Nolary      Public      Rhode    island
                                                                                                  John             eaton
                       Notary      1D 763922

          Ay Commi              Expires Nar 27, 2023                                              Tl      Deaton      Law     Firm

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